Case 3:18-cv-00124-DPM Document1 Filed 07/06/18 Page 1 of 3

EABTERN DISTRICT ARKANSAS

a
UNITED STATES DISTRICT COURT JUL 06 2018
EASTERN DISTRICT OF ARKANSAS JAMES W.M
JONESBORO DIVISION By:

 

 

 

 

Christopher Hubler,
: 3:)fr-eve 60124 Dem
Plaintiff, : Civil Action No.:
v. :
: COMPLAINT AND DEMAND FOR
DIRECTV, LLC, : JURY TRIAL
Defendant.
This case assigned to District Judge__ Maes
and | rate Judge_ tages
COMPLAINT

For this Complaint, Plaintiff, Christopher Hubler, by undersigned counsel, states as

follows:

JURISDICTION

1. This action arises out of Defendant’s repeated violations of the Telephone
Consumer Protection Act 47 U.S.C. § 227, et seq. (the “TCPA”).

2. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
Defendants transact business in this District and a substantial portion of the acts giving rise to
this action occurred in this District.

PARTIES

3. Plaintiff, Christopher Hubler (“Plaintiff”), is an adult individual residing in
Imboden, Arkansas, and is a “person” as defined by 47 U.S.C. § 153(39).

4, Defendant DIRECTV, LLC (“DIRECTV”), is a California business entity with an
address of 2230 East Imperial Highway, El Segundo, California 90245, and is a “person” as

defined by 47 U.S.C. § 153(39).

 
Case 3:18-cv-00124-DPM Document1 Filed 07/06/18 Page 2 of 3

FACTS

5. In or around July 2017, DIRECTV began placing calls to Plaintiff's cellular
telephone number, 870-xxx-0837, using an automatic telephone dialing system (“ATDS”) and/or
using an artificial or prerecorded voice.

6. When Plaintiff answered calls or received voicemail messages from DIRECTV,
he heard a prerecorded message.

7. In or around late 2017, Plaintiff called DIRECTV and told them to cease all calls
to his cellular telephone number.

8. Nevertheless, DIRECTV continued to place automated calls to Plaintiff's cellular
telephone number.

COUNT I
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT -

47 U.S.C. § 227, et seq.

9. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

10. At all times mentioned herein, Defendant called Plaintiffs cellular telephone
number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

11. Defendant continued to place automated calls to Plaintiff's cellular telephone
number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff
was made in knowing and/or willful violation of the TCPA, and subject to treble damages
pursuant to 47 U.S.C. § 227(b)(3)(C).

12. | The telephone number called by Defendant was assigned to a cellular telephone
service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

13. ‘Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

 
Case 3:18-cv-00124-DPM Document1 Filed 07/06/18 Page 3 of 3

14. The calls from Defendant to Plaintiff were not placed for “emergency purposes”
as defined by 47 U.S.C. § 227(b)(1 )(A)(i).
15. Plaintiff is entitled to an award of $500.00 in statutory damages for each call
placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).
16. Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00
pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that judgment be entered against Defendants:
1. Statutory damages of $500.00 for each violation determined to be negligent
pursuant to 47 U.S.C. § 227(b)(3)(B);
2. Treble damages for each violation determined to be willful and/or knowing
pursuant to 47 U.S.C. § 227(b)(3)(C); and
3. Such other and further relief as may be just and proper.
TRIAL BY JURY DEMANDED ON ALL COUNTS
Dated: July 3, 2018

Respectfully ghbmitte

 

Sergei Lemberg, Esq.
LEMBERG LAW, L.L.C.
43 Danbury Road, 3rd Floor
Wilton, CT 06897
Telephone: (203) 653-2250
Facsimile: (203) 653-3424
Attorneys for Plaintiff

 
